                       Case 4:17-cr-00312-DPM               Document 285           Filed 03/20/18         Page 1 of 1
(Post 11/2015)                                                                                                    FILED
                                                                                                              U.S. DISTRICT COURT
                                                                                                          EASTERN DISTRICT ARKANSAS

                                            IN THE UNITED STATES DISTRICT COURT                                MAR 2 0 2018
                                               EASTERN DISTRICT OF ARKANSAS
                                                     WESTERN DIVISION           JAMES
                                                                                                  By: _______.........,D""E.....P_C,....L'"""E=R~K
                 UNITED STATES OF AMERICA                                                                                      IFF

                         vs.                             NO. 4:17-CR-00312-01 DPM

                 JA VIEN COLIN-FLORES                                                                          DEFENDANT


                                       WAIVER OF APPEARANCE FOR ARRAIGNMENT
                                          AND ENTRY OF PLEA OF NOT GUILTY
                                (Pursuant to Rules 10 and 43 of the Federal Rules of Criminal Procedure)

                         NOW COMES Defendant in the above-referenced case who, along with his/her undersigned attorney,
                 hereby acknowledges the following:

                 l)      Defendant has received a copy of the indictment, superseding indictment or misdemeanor
                         information in this case. Defendant understands the nature and substance of the charges contained
                         therein, the maximum penalties applicable thereto, and his/her Constitutional rights, after being
                         advised of all of the above by his/her attorney.

                 2)      Defendant understands he/she has the right to appear personally with his/her attorney before a Judge
                         for arraignment in open court on this accusation. Defendant further understands that, absent the
                         present waiver, he/she will be so arraigned in open court.

                 Defendant, having conferred with his/her attorney in this regard, hereby waives personal appearance with
                 his/her attorney at the arraignment of this case and the reading of the indictment, superseding indictment or
                 information, and by this instrument tenders a plea of "not guilty." The defendant understands that entry by
                 the Court of said plea for defendant will conclude the arraignment in this case for all purposes.


                         03-JS- ).01&
                         Date                                      Defendant's Signature


                         Date
                               ~1~ur                               ~Signature
                                                          ORDER OF COURT

                          The defendant's request to waive appearance at the arraignment is hereby APPROVED and a
                          plea of not guilty is entered for the defendant effective this date.




                 cc:     All Counsel of Record
                         U.S. Probation Office
                         U.S. Marshals Service
                         Presiding Magistrate Judge
